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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Case No. 1:22-cv-24066-KMM
   GRACE, INC., et al.,
          Plaintiﬀs,
   v.
   CITY OF MIAMI,
          Defendant.
                                    /

                 PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Pursuant to Local Rule 7.8, Plaintiﬀs give notice of these authorities supporting their

  arguments in ECF 83 at 5–8 and ECF 84 at 3–10:

         1.      S.C. State Conf. of NAACP v. Alexander, — F. Supp. 3d —, 2023 WL 118775, at

  *14 (D.S.C. Jan. 6, 2023) (enjoining elections under a racially gerrymandered congressional

  redistricting plan “until a constitutionally valid apportionment plan is approved by this Court,”

  noting “it is well settled that the legislature should be given a reasonable opportunity to recommend

  for consideration a remedial plan that meets constitutional standards,” and “provid[ing] the

  Defendants the opportunity to submit a remedial plan to the Court”), appeal ﬁled and prob. juris.

  noted, 143 S. Ct. 2456.

         2.      S.C. State Conf. of NAACP v. Alexander, No. 3:21-cv-3302 (D.S.C. Feb. 4, 2023),

  ECF 501 at 2 (extending the legislature’s deadline to enact and submit a remedy and noting “[t]he

  Court intended thereafter to allow the parties to comment upon the legislature’s proposed remedial

  plan, produce evidence in support of their respective positions, oﬀer other plans if they desired,

  and conduct an evidentiary hearing and oral argument, as necessary, prior to the adoption of a

  remedial plan”).




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                               CERTIFICATE OF WORD COUNT

         In compliance with Local Rule 7.8, this notice contains 199 words.



  Respectfully submitted this 17th day of July, 2023,

   /s/ Nicholas L.V. Warren

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